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 1   LISA B. MEIER, SBN 218979
     809 Montgomery Street, 2nd Floor
 2   San Francisco CA 94133
     Telephone: 415/394-3800
 3   Facsimile: 415/394-3806

 4   Attorney for Defendant
     NICHOLAS ROMAN
 5
     DANNY B. SCHULTZ, SBN 196232
 6   809 Montgomery Street, 2nd Floor
     San Francisco CA 94133
 7   Telephone: 415/394-3800
     Facsimile: 415/394-3806
 8
     Attorney for Defendant
 9   JEREMY TERRELL

10

11
                                 UNITED STATES DISTRICT COURT
12
                                 EASTERN DISTRICT OF CALIFORNIA
13

14

15
     UNITED STATES OF AMERICA,                               Case No. 2:10CR0477 LKK
16
                    Plaintiff,
17                                                           STIPULATION AND ORDER TO
                                                             RESCHEDULE SENTENCING
18          v.                                               HEARING

19
     JEREMY TERRELL and NICHOLAS ROMAN,
20
                 Defendants.
21   _______________________________________/

22
            IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States of
23
     America, and defendants JEREMY TERRELL and NICHOLAS ROMAN, through their
24
     counsel, that the Court should vacate the sentencing hearing now scheduled for November 14,
25
     2012, at 9:15 a.m., and reset it for November 27, 2012, at 9:15 a.m. It is further stipulated and
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     agreed between the above-listed parties that the final Pre-sentence report shall be filed and
27
     disclosed to counsel no later than November 6, 2012.
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 1           This request is being made as counsel for defendants would like additional time to

 2   prepare the respective sentencing memorandums. In addition, counsel is requesting a

 3   continuance of one week so that defendants may spend the Thanksgiving holiday with their

 4   families prior to sentencing,

 5          While it is understood that the Speedy Trial Act does not necessarily apply under

 6   circumstances in which the defendant has already entered a plea of guilty, it is further

 7   stipulated and agreed between the parties that the time be excluded until the requested hearing

 8   date on November 27, 2012. The basis for the exclusion of time under the Speedy Trial Act to

 9   is provide the undersigned counsel with the reasonable time necessary for effective

10   representation, pursuant to 18 U.S.C. section 3161(h)(8)(B)(iv) and Local Code T4.

11

12   Respectfully Submitted,

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14   /S/MICHAEL ANDERSON                           /S/ LISA B. MEIER
     MICHAEL ANDERSON                              LISA B. MEIER
15   Assistant U.S. Attorney                       Attorney for Defendant
     Dated: October 29, 2012                       NICHOLAS ROMAN
16                                                 Dated: October 29, 2012

17
     /S/DANNY B. SCHULTZ
18   DANNY B. SCHULTZ
     Attorney for Defendant
19   JEREMY TERRELL
     Dated: October 29, 2012
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24          IT IS SO ORDERED.

25          Dated: October 29, 2012

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